Case 2:23-cv-00482-RJS-DBP Document 299-2 Filed 04/17/24 PageID.5463 Page 1 of 8




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  Attorneys for Josias N. Dewey, Court-Appointed
  Temporary Receiver

                       IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, NORTHERN DIVISION

   SECURITIES AND EXCHANGE
   COMMISSION,                                     DECLARATION OF JESSICA B.
          Plaintiff,                               MAGEE
   v.
   DIGITAL LICENSING INC. (d/b/a                   Case No. 2:23-cv-00482-RJS
   “DEBT Box”), a Wyoming corporation;
   JASON R. ANDERSON, an individual;               Judge Robert J. Shelby
   JACOB S. ANDERSON, an individual;               Magistrate Judge Dustin B. Pead
   SCHAD E. BRANNON, an individual;
   ROYDON B. NELSON, an individual;
   JAMES E. FRANKLIN, an individual;
   WESTERN OIL EXPLORATION
   COMPANY, INC., a Nevada corporation;
   RYAN BOWEN, an individual; IX
   GLOBAL, LLC, a Utah limited liability
   company; JOSEPH A. MARTINEZ, an
   individual; BENJAMIN F. DANIELS, an
   individual; MARK W. SCHULER, an
   individual; B & B INVESTMENT
   GROUP, LLC (d/b/a “CORE 1
   CRYPTO”), a Utah limited liability
   company; TRAVIS A. FLAHERTY, an
   individual; ALTON O. PARKER, an
   individual; BW HOLDINGS, LLC (d/b/a
   the “FAIR PROJECT”), a Utah limited
   liability company; BRENDAN J.
   STANGIS, an individual; and MATTHEW
   D. FRITZSCHE, an individual,


                                             -1-
Case 2:23-cv-00482-RJS-DBP Document 299-2 Filed 04/17/24 PageID.5464 Page 2 of 8




          Defendants,

   ARCHER DRILLING, LLC, a Wyoming
   limited liability company; BUSINESS
   FUNDING SOLUTIONS, LLC, a Utah
   limited liability company; BLOX LENDING,
   LLC, a Utah limited liability company;
   CALMFRITZ HOLDINGS, LLC, a Utah
   limited liability company; CALMES & CO,
   INC., a Utah corporation; FLAHERTY
   ENTERPRISES, LLC, an Arizona limited
   liability company; IX VENTURES FZCO, a
   United Arab Emirates company; PURDY
   OIL, LLC, a Nebraska limited liability
   company; THE GOLD COLLECTIVE LLC,
   a Utah limited liability company; and UIU
   HOLDINGS, LLC, a Delaware limited
   liability company,

          Relief Defendants.

                  DECLARATION OF JESSICA B. MAGEE IN SUPPORT OF
                   RECEIVER’S FIRST AND FINAL FEE APPLICATION

         I, Jessica B. Magee, declare and state as follows:

         1.      I am over the age of majority and have personal knowledge of the matters set forth

  herein. I am competent in all respects to make the statements set forth in this declaration.

         Receivership-Related Experience & Fees

         2.      I am a partner at Holland & Knight LLP (“H&K”), Chair of H&K’s Securities

  Enforcement Defense Team, and served as lead counsel to the Court-appointed temporary receiver,

  Josias N. Dewey (“Receiver”), in the above captioned matter and submit this declaration in support

  of the Receiver’s First and Final Fee Application (“Application”).

         3.      I have been licensed to practice law since 2002. Before joining the SEC as a staff

  attorney in 2010, I worked in private practice, including on matters involving the representation of

  court-appointed receivers. From 2010 to 2018 I was a member of the staff of the SEC, where I



                                                  -2-
Case 2:23-cv-00482-RJS-DBP Document 299-2 Filed 04/17/24 PageID.5465 Page 3 of 8




  served in various roles within the Division of Enforcement including as a staff attorney, trial

  attorney, Assistant Director, Regional Trial Counsel and, ultimately, as the Associate Director for

  Enforcement in the SEC’s Fort Worth Regional Office. During my time at the SEC, I investigated

  and supervised matters involving digital assets matters and receiverships. Since returning to

  private practice, my work has included defending investigations and enforcement actions in which

  my firm’s clients are opposed to agencies including, but not limited to, the SEC.

         4.      The other core H&K attorneys working on this matter, including the Receiver, also

  have notable experience working on digital asset-related receiverships, are all active members of

  H&K’s Digital Asset and Blockchain Technology Team (of which the Receiver is chair), and

  possess specialized technical and engineering backgrounds suitable for this type of work. Their

  relevant expertise is described in more detail in the application for consideration as a receiver in

  this matter, which is incorporated by reference herein for the Court’s consideration 1.

         5.      A prior pertinent case in which H&K was involved is SEC v. Titanium Blockchain

  Infrastructure Servs., Inc., No. 18-cv-4315 (C.D. Cal. 2018) (“TBIS”), in which Mr. Dewey served

  as permanent receiver and H&K served as his counsel. Together, they executed the first multi-

  million dollar distribution of claim payouts via cryptocurrency, returning a pro-rata distribution

  of 91% of eligible claimants’ losses.

         6.      Another such matter is SEC v. Middleton, Case No. 19-cv-4625 (E.D.N.Y. 2019)

  (“Middleton”), ECF Nos. 51 and 61, in which the court appointed Mr. Dewey as “an independent

  intermediary” coordinating the transfer and custody of the defendants’ digital assets, and H&K as

  the Distribution Agent for the Veritaseum Fair Fund tasked with administering the claims process




  1
   See ECF No. 4, Plaintiff Securities and Exchange Commission’s Ex Parte Application for
  Appointment of a Temporary Receiver at Ex. 3 (hereinafter “Receiver Recommendation”).
                                                  -3-
Case 2:23-cv-00482-RJS-DBP Document 299-2 Filed 04/17/24 PageID.5466 Page 4 of 8




  and distribution in coordination with the Commission. The team developed efficient protocols for

  validating claims amongst a wide and complex mix of digital asset transactions, and ultimately

  returned 100% of eligible claimants’ losses. The chart below summarizes the hourly rates for all

  H&K attorneys who worked on the TBIS and Middleton matters between 2021 and 2023, while

  calling specific attention to those H&K attorneys who also worked on this matter:

                 Category                        TBIS 2                       Middleton
                                     (2021) $595‒$925                (2021) $610‒$715
      Partner Hourly Rates           (2022) $685‒$1125               (2022) $685‒$800
                                     (2023) $755‒$1125               (2023) $755
                                     (2021) $920                     (2021) $920
             Josias Dewey            (2022) $920                     (2022) $920
                                     (2023) N/A                      (2023) N/A
                                     (2021) $325‒$555                (2021) N/A
      Associate Hourly Rates         (2022) $375‒$615                (2022) $495‒$560
                                     (2023) $540‒$745                (2023) $540‒$560
                                     (2021) N/A                      (2021) N/A
             Andrew Balthazor        (2022) $435                     (2022) $555
                                     (2023) $555‒$685                (2023) $555
                                     (2021) $495                     (2021) N/A
             Dennis Gonzalez         (2022) $495‒$560                (2022) $495‒$560
                                     (2023) $560‒$625                (2023) $560
                                     (2021) N/A                      (2021) N/A
             Alex Englander          (2022) $495‒$540                (2022) $495‒$540
                                     (2023) $540‒$615                (2023) $540
                                       10% courtesy reduction to                 None
      Discounts 3
                                             final invoices

            7.      The court overseeing the TBIS receivership reviewed H&K’s fees and hourly rates

  described in the chart above, and granted each fee application in full. 4 With respect to the




  2
    This chart covers H&K’s Third, Fourth, and Final Fee Applications filed in TBIS, spanning the
  three-year period of 2021 through 2023. See TBIS, ECF Nos. 110, 126, 131.
  3
    Although not covered by the period in this chart, the court imposed a fee cap of $125,000 for the
  first 30 days of the receivership. Id., ECF No. 48 § XVII. During these first 30 days, H&K further
  reduced their invoices by a courtesy discount of 15%. Id., ECF No. 76 ¶ 25.
  4
    Id., ECF Nos. 112, 130, 135.
                                                  -4-
Case 2:23-cv-00482-RJS-DBP Document 299-2 Filed 04/17/24 PageID.5467 Page 5 of 8




  Middleton Fair Fund, the Commission did the same and similarly granted the fees requested in

  full.

           8.     The Commission has taken the position in this matter that Mr. Dewey’s front-end

  rate discounts (of approximately 25% to $750 per hour), are reasonable, particularly in view of his

  substantial experience and relevant expertise. Likewise, the SEC understood and was comfortable

  with Mr. Dewey’s front end offer to apply 17% to 33% discounts to the rates of H&K counsel

  representing him. Specifically, H&K’s standard hourly rates and front-end discounted rates were

  as follows 5:

                                                        Current Hourly        Proposed Discounted
             Name                Title (Role)
                                                         Billing Rate          Hourly Billing Rate
      Josias Dewey          Partner (Receiver)               $980                     $750
      Jessica Magee         Partner (Counsel)               $1115                     $750
      Scott Mascianica      Partner (Counsel)               $1025                     $750
      Andrew Balthazor      Associate (Counsel)              $555                     $450
      Dennis Gonzalez       Associate (Counsel)              $560                     $450
      Alex Englander        Associate (Counsel)              $540                     $450
      Variety               Paralegal (Counsel)              $325                     $195


           9.     As indicated above, H&K’s front-end discounted hourly rates in this matter are less

  than the rates H&K has charged, and been paid for, in similar matters (and well below same when

  considering H&K’s Effective Hourly Rates in this matter, as described in the Application).

           10.    Additionally, in 2021, Baker & Hostetler LLP was selected as counsel to a receiver,

  for a receivership involving digital assets 6. A comparison of that team’s first fee application, to

  that of H&K’s here, is provided in the chart below:

                                                          SEC v. Qin et al 7        This Matter 8
      Counsel                                           Baker & Hostetler LLP          H&K

  5
    Id. at 8.
  6
    See SEC v. Qin et al, No. 1:20-cv-10849-JGLC (S.D. N.Y. 2020), ECF No. 29-1.
  7
    Id., ECF No. 66.
  8
    See Application, Exhibit C-1.
                                                  -5-
Case 2:23-cv-00482-RJS-DBP Document 299-2 Filed 04/17/24 PageID.5468 Page 6 of 8




                                                             SEC v. Qin et al 7       This Matter 8
      Year of Appointment                                         2021                    2023
      Discounted Partner Rates                                   $695/hr                 $750/hr
      Discounted Associate Rates                                 $295/hr                 $450/hr
      First Fee Application Period                               66 days                 70 days
      Total Billable Hours                                     2,280 hours            2,198.60 hours
      Total Fees Incurred                                     $1,050,968.11           $1,014,785.00
      - Total Discounts                                       $(305,807.50)           $(567,210.00)
              Discounts Pursuant to 30-day Fee Cap            $(305,807.50)           $(123,445.00)
              Additional Discretionary Discounts                 $(0.00)              $(443,765.00)
              Beyond Discounted Rates
      % of Total Discounts                                       ~29%                     ~55%
      Effective Hourly Rate 9                                   $326.82                  $259.72
      Total Fees Requested                                    $745,160.61              $447,575.00
      Result                                                Granted in Full 10            TBD

            11.    Both matters involved digital asset-related receiverships, nearly identical billable

  hours expended and total fees incurred, yet H&K provided approximately 26% more in additional

  discounts and is requesting about 40% less in fees over a similar period of time. The Qin court

  granted that team’s fee application in full, effectively finding such fees reasonable.

            12.    In sum, H&K’s hourly rates requested in the Application are at or below rates it has

  charged in matters of similar complexity and scope, and are at least comparable to rates charged

  in other digital asset-related receiverships. Accordingly, in my experience these hourly rates are

  reasonable and customary for attorneys with similar skill and expertise.

  Rates for Salt Lake City, Utah

            13.    As further explained in the Application, the Receiver contends that it is likely more

  appropriate for the Court to assess the fees under a traditional receivership framework.

  Nevertheless, even if the Court wishes to consider prevailing market rates within the Salt Lake

  City area, H&K’s rates fall within those parameters. See Application at Section V.A.



  9
      The Effective Hourly Rate is equal to (Total Fees Requested)/(Total Billable Hours).
  10
       See supra n.6, Qin ECF Nos. 91, 101.
                                                   -6-
Case 2:23-cv-00482-RJS-DBP Document 299-2 Filed 04/17/24 PageID.5469 Page 7 of 8




         14.     Given the technical acumen and specialized expertise required for this matter,

  H&K’s Discounted Hourly Rates of ($450/hr for associates and $750/hr for partners) appear

  reasonable for the Salt Lake City market. The reasonableness of H&K’s rates is enhanced further

  after applying H&K’s substantial discounts, reducing H&K’s Effective Hourly Rates to $375.26

  per partner hour and $211.77 per associate hour 11.

  Certification of Compliance with SEC Billing Instructions

         15.     To the best of my knowledge, information and belief formed after reasonable

  inquiry, all fees and expenses of H&K are true and accurate and comply with the Billing

  Instructions for Receivers in Civil Actions Commenced by the U.S. Securities and Exchange

  Commission.

         16.     All fees contained in H&K’s invoices (attached to the Application as Exhibit E)12

  are based on the rates listed therein, and such fees are reasonable, necessary and commensurate

  with the skill and experience required for the activity performed.

         17.     The amount for which reimbursement is sought in the Application does not include

  the amortization of the cost of any investment, equipment, or capital outlay, nor does it include

  time and costs incurred after October 6, 2024, the date on which the Court determined that the

  Receivership should be dissolved.

         18.     The requests for reimbursement of services that were justifiably purchased or

  contracted for from third parties (such as copying, imaging, bulk mail, messenger service,




  11
    See Application, Exhibit C-1.
  12
     The Receivership Team’s invoices in support of the Application have been filed under seal
  pursuant to the Receiver’s motion filed contemporaneously with the Application; nevertheless, the
  Receiver and Receivership Team reserve and do not waive attorney-client privilege, work product,
  or other applicable protections afforded thereto.
                                                 -7-
Case 2:23-cv-00482-RJS-DBP Document 299-2 Filed 04/17/24 PageID.5470 Page 8 of 8




  overnight courier, computerized research, or title and lien searches) include only the amount billed

  to H&K by the third party vendor through October 6, 2024.



         I declare under criminal penalty of law of Utah that the foregoing is true and correct.



  DATED this 17th day of April, 2024.


                                                /s/ Jessica B. Magee
                                                Jessica B. Magee




                                                 -8-
